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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

 WEATHERFORD U.S., LP and                        §
 WEATHERFORD TECHNOLOGY                          §
 HOLDINGS, LLC                                   §
                                                 §          CIVIL ACTION NO. 23-cv-3416
        VS                                       §              JURY DEMANDED
                                                 §
 IRON IQ, INC.                                   §

                    PLAINTIFFS WEATHERFORD U.S., L.P. AND
                  WEATHERFORD TECHNOLOGY HOLDINGS, LLC’S
                     CORPORATE DISCLOSURE STATEMENT

       Under Federal Rule of Civil Procedure 7.1, Plaintiffs Weatherford U.S., L.P. and

Weatherford Technology Holdings, LLC state that they are nongovernmental corporate parties to

this proceeding. Plaintiffs further state that Weatherford International plc is a publicly held

corporation that owns 10% or more of any of their stock. Plaintiffs reserve the right to amend this

disclosure.

 Dated: September 12, 2023                           Respectfully submitted,

                                                     BAKER & HOSTETLER LLP

                                                     s/ Billy M. Donley
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                                                    Attorneys for Plaintiffs
                                                    Weatherford U.S., L.P. and
                                                    Weatherford Technology Holdings, LLC



                                CERTIFICATE OF SERVICE

       Under Fed. R. Civ. P. 5(b)(2)(E), Local Rule 5.1, and Local Rule 5.3, the undersigned

hereby certifies that true and correct copies of the foregoing have been served on Iron IQ, Inc. at

the address below.

       Registered Agent, IRON IQ, INC., 610 Rood Ave, Grand Junction, CO 81501



Dated: September 12, 2023                           s/ Billy M. Donley




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